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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)


In re:                                             *

ROMAN CATHOLIC ARCHBISHOP                          *          Case No: 23-16969-MMH
OF BALTIMORE                                                           (Chapter 11)
                                                   *
         Debtor
                                                   *

         *    *           *     *       *      *       *      *      *      *        *     *

         STIPULATION EXTENDING TIME TO RESPOND TO FIRST-DAY MOTIONS
                  The Roman Catholic Archbishop of Baltimore, the debtor and debtor-in-
possession herein (the “Debtor”), and Eva Dittrich and other survivors similarly represented
(collectively, the “Survivors”), by their respective counsel, file this Stipulation Extending Time
to Respond to First-Day Motions, and hereby stipulate and agree as follows:
                  WHEREAS, on September 29, 2023, the Debtor filed the following motions
(collectively, the “First-Day Motions”):

                  1.      Debtor’s Emergency Motion for Entry of Interim and Final
                          Orders (I) Authorizing Debtor’s Proposed Form of Adequate
                          Assurance of Payment to Utility Companies under Section
                          366 of the Bankruptcy Code, (II) Establishing Procedures for
                          Resolving Objections by Utility Companies, (III) Prohibiting
                          Utility Companies from Altering, Refusing, or Discontinuing
                          Service, and (IV) Granting Related Relief [Dkt. # 8];
                  2.      Debtor’s Emergency Application for Order (I) Authorizing
                          and Approving the Appointment of Epiq Corporate
                          Restructuring, LLC as Claims and Noticing Agent; and
                          (II) Granting Related Relief [Dkt. # 11];

                  3.      Debtor’s Emergency Motion for an Order Authorizing the
                          Debtor to File under Seal Portions of Schedule E/F, the
                          Creditor Matrix, and Other Pleadings and Documents
                          [Dkt. # 2];

                  4.      Debtor’s Emergency Motion for Entry of Interim and Final
                          Orders Authorizing the Debtor to (I) Continue
                          Administration of Insurance Programs, (II) Continue
                          Participation in Insurance Programs, and (III) Renew,
                          Amend, Supplement, Extend, or Purchase Insurance
                          Coverage [Dkt. # 10];

                  5.      Debtor’s Emergency Motion for Entry of Interim and Final
                          Orders: (I) Authorizing the Debtor to (A) Pay Certain
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                         Prepetition Wages, Benefits, and Other Compensation and
                         (B) Continue Employee Compensation and Benefits
                         Programs; and (II) Granting Related Relief [Dkt. # 7];

                 6.      Debtor’s Emergency Motion for Entry of Interim and Final
                         Orders: (I) Authorizing Continued Use of Existing Cash
                         Management System and Bank Accounts; (II) Extending
                         the Time to Comply With, or Seek a Waiver of, Certain
                         United States Trustee Requirements and Section 345(b) of
                         the Bankruptcy Code; (III) Authorizing the Debtor to
                         Continue Existing Deposit Practices; (IV) Authorizing the
                         Debtor to Maintain Investment Practices; (V) Authorizing
                         the Debtor’s Continued Use of Credit Cards; and
                         (VI) Granting Related Relief [Dkt. # 15];

                 7.      Debtor’s Emergency Motion for Entry of Interim and Final
                         Orders (I) Authorizing Use of Cash Collateral and Granting
                         Adequate Protection, (II) Scheduling a Final Hearing on the
                         Use of Cash Collateral, and (III) Granting Related Relief
                         [Dkt. # 9]; and

                 8.      Debtor’s Motion for Entry of an Order, Pursuant to
                         Sections 105(a) and 362 of the Bankruptcy Code,
                         Extending the Automatic Stay [Dkt. # 12].
                 WHEREAS, pursuant to the Notice of Final Hearing on Debtor’s First-Day

Motions and Objection Deadline [Dkt. # 53], the deadline to file any objections or other responses

to any of the First-Day Motions is October 25, 2023;

                 WHEREAS, the Debtor has agreed that the deadline by which the Survivors

represented by the law firms of Grant & Eisenhofer, P.A., Jenner Law, P.C. and Baird Mandalas

Brockstedt & Federico, LLC may file a response to the First-Day Motions prior to the entry of

final orders shall be extended through and including October 30, 2023; and

                 WHEREAS, the Debtor has agreed that the deadline by which any Official

Committee of Unsecured Creditors appointed in the above-captioned case may file a response to

the First-Day Motions prior to the entry of final orders shall be extended through and including

October 30, 2023.

                 NOW, THEREFORE, it is hereby stipulated by the Debtor and the Survivors that

the Survivors, as well as any Official Committee of Unsecured Creditors appointed in the above-

captioned case, shall have through and including Monday, October 30, 2023 to respond to the
First-Day Motions prior to the entry of final orders.




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        /s/ Catherine Keller Hopkin                        /s/ Steven J. Kelly
 Catherine Keller Hopkin, 28257                     Steven J. Kelly, 27386
 Corinne Donohue Adams, 18768                       Suzanne Sangree,26130
 YVS Law, LLC                                       Grant & Eisenhofer, P.A.
 185 Admiral Cochrane Drive, Suite 130              3600 Clipper Mill Road, Suite 240
 Annapolis, Maryland 21401                          Baltimore, Maryland 21211
 (443) 569-0788                                     (443) 531-1474
 chopkin@yvslaw.com                                 skelly@gelaw.com

 Blake D. Roth (admitted pro hac vice)              Gordon Z. Novod (admitted pro hac vice)
 C. Scott Kunde (admitted pro hac vice)             Grant & Eisenhofer, P.A.
 Tyler N. Layne (admitted pro hac vice)             485 Lexington Avenue, 29th Floor
 Holland & Knight LLP                               New York, New York 10017
 511 Union Street, Suite 2700                       (646) 722-8523
 Nashville, Tennessee 37219                         gnovod@gelaw.com
 (615) 244-6380
 blake.roth@hklaw.com                               Robert K. Jenner, 04165
                                                    Kathleen R. Kerner, 18955
 Nicholas R. Miller (admitted pro hac vice)         Elisha Hawk, 29169
 Holland & Knight LLP                               Jenner Law, P.C.
 100 Congress Avenue, Suite 1800                    3600 Clipper Mill Road, Suite 240
 Austin, Texas 78701                                Baltimore, Maryland 21211
 (512) 685-6457                                     (410) 413-2155
 nick.miller@hklaw.com                              rjenner@jennerlawfirm.com

 Philip T. Evans, 11796                             Philip C. Federico, 01216
 Holland & Knight LLP                               Brent P. Ceryes, 19192
 800 17th Street, NW, Suite 1100                    Wray Fitch, 19722
 Washington, D.C. 20006                             Baird Mandalas Brockstedt & Federico, LLC
 (202) 457-7043                                     2850 Quarry Lake Drive Suite 220
 philip.evans@hklaw.com                             Baltimore, Maryland 21209
                                                    (410) 421-7777
 Counsel for Debtor                                 pfederico@bmbfclaw.com

                                                    Counsel for Eva Dittrich and Other Survivors


                I HEREBY CERTIFY that the terms of the copy of the stipulation submitted to
the Court are identical to those set forth in the original stipulation; and the signatures represented
by the /s/ on this copy reference the signatures of consenting parties on the original stipulation.



                                                              /s/ Catherine Keller Hopkin
                                                       Catherine Keller Hopkin




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                                   CERTIFICATE OF SERVICE
                 I hereby certify that on the 9th day of October 2023, notice of filing the

Stipulation Extending Time to Respond to First-Day Motions (the “Stipulation”) was served by

CM/ECF to those parties listed on the docket as being entitled to such electronic notices, which

parties are identified on the attached service list. In addition, Epiq Corporate Restructuring, LLC

will cause a true and correct copy of the Stipulation to be served on all parties required to be

served, with a certificate or affidavit of service to be filed subsequently, all in accordance with

Local Rule 9013-4.


                                                              /s/ Catherine Keller Hopkin
                                                       Catherine Keller Hopkin




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The following parties received
CM/ECF notice of the filing:




Hugh M. Bernstein, Esquire                Philip Tucker Evans, Esquire             Geoffrey Grivner, Esquire
(hugh.m.bernstein@usdoj.gov)              (philip.evans@hklaw.com)                 (geoffrey.grivner@bipc.com)
Office of the U.S. Trustee                Counsel for Debtor                       Counsel for PNC Bank, N.A.
                                          Holland and Knight                       Buchanan Ingersoll & Rooney PC
101 West Lombard Street, Suite 2625       800 17th Street, Ste. 1100               500 Delaware Avenue, Suite 720
Baltimore, Maryland 21201                 Washington, D.C. 20006                   Wilmington, Delaware 19801

Catherine Keller Hopkin, Esquire          Steven J. Kelly, Esquire                 Blake D. Roth, Esquire
(chopkin@yvslaw.com)                      (skelly@gelaw.com)                       (blake.roth@hklaw.com)
Local Counsel for Debtor                  Counsel for Eva Dittrich                 Counsel for Debtor
YVS Law, LLC                              Grant & Eisenhofer P.A.                  Holland & Knight LLP
185 Admiral Cochrane Drive, Suite 130     3600 Clipper Mill Road, Suite 240        511 Union Street, Suite 2700
Annapolis, Maryland 21401                 Baltimore, Maryland 21211                Nashville, Tennessee 37219

James P. Ruggeri, Esquire
(jruggeri@ruggerilaw.com)                 U.S. Trustee – Baltimore
Counsel for Hartford and Twin City        (ustpregion04.ba.ecf@usdoj.gov)
Ruggeri Parks Weinberg LLP                101 West Lombard Street, Suite 2625
1875 K Street NW, Suite 600               Baltimore, Maryland 21201
Washington, D.C. 20006
